     Case 2:17-cv-01605-KJM-JDP Document 86 Filed 05/06/21 Page 1 of 1


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 6                              UNITED STATES DISTRICT COURT

 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   Monster Energy Company, a                             No. 2:17-cv-01605-KJM-JDP
     Delaware corporation
10                        Plaintiffs,                      ORDER
11
             v.
12
     Beastup LLC, a California limited
13   liability company
                             Defendants.
14

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16          The parties jointly request to continue the bench trial in this matter and the hearing date on

17   plaintiff’s motion in limine to December 7, 2021. See ECF No. 85. Good cause appearing, the

18   court grants this request, as follows:

19          (1) Bench trial is reset to December 7, 2021 at 9:00 a.m.
20          (2) Motion in limine hearing is reset to December 7, 2021 at 9:00 a.m.

21          (3) Bench trial set for June 22, 2021 at 9:00 a.m. is vacated.

22          (4) The Courtroom Deputy will communicate with counsel in advance of trial

23          regarding trial procedure and housekeeping matters relating to the use of

24          videoconference technology for the anticipated proceedings.

25          IT IS SO ORDERED.

26   DATED: May 5, 2021.




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